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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                                               Case No.:


Heidi Reed,

               Plaintiff,
                                              COMPLAINT
      vs.

Complete Credit Solutions, Inc.,              JURY TRIAL DEMAND

               Defendant.



              COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES THE PLAINTIFF, HEIDI REED, BY AND THROUGH

COUNSEL, Daniel M. Brennan, Esq. and for her Complaint against the Defendant,

pleads as follows:

                                         I.

                            NATURE OF THE ACTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.
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                                       II.

                       JURISDICTION AND VENUE

 2. This court has jurisdiction under the Fair Debt Collection Practices Act

    (“FDCPA”), 15 U.S.C. §1692k.

 3. Venue is proper in the Middle District of Florida as the Defendant Complete

    Credit Solutions, Inc. conducts business in the State of Florida.

                                      III.

                                   PARTIES

 4. Plaintiff is a natural person residing in the City of Melbourne, Brevard

    County, Florida.

 5. The Defendant to this lawsuit is Complete Credit Solutions Inc. which is a

    Texas corporation that conducts business in the state of Florida.

                                      IV.

                        GENERAL ALLEGATIONS

 6. Defendant is attempting to collect a consumer type debt allegedly owed to a

    third party in the amount of $297.00 (the alleged “Debt”).

 7. Plaintiff disputes the alleged Debt.

 8. On January 6, 2021, Plaintiff obtained her Experian credit report and noticed

    Defendant reporting the alleged debt as a collection item.
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 9. On March 12, 2021, Plaintiff obtained her Equifax and Trans Union credit

    reports and noticed Defendant reporting the alleged debt as a collection item.

 10.On or about May 12, 2021, Plaintiff sent Defendant a letter disputing the

    reporting collection item.

 11. On June 15, 2021, a prospective lender, WebBank, obtained Plaintiff’s

    Trans Union credit file.

 12. On July 1, 2021, another prospective lender, Capital One Bank, obtained

    Plaintiff’s Experian credit file.

 13.On July 15, 2021, Plaintiff obtained her Equifax, Trans Union and Experian

    ("CRAs") credit disclosures, which showed Defendant last reported the

    collection item reflected by the CRAs on July 13, 2021 and failed or refused

    to flag them as disputed, in violation of the FDCPA.

 14.In the credit reporting industry, data furnishers, such as the Defendant,

    communicate electronically with the credit bureaus.

 15.Defendant had more than ample time to instruct the CRAs to flag its

    collection item as Disputed.

 16.Defendant’s inaction to have its collection item on Plaintiff’s credit report

    flagged as disputed was either negligent or willful.

 17.Plaintiff suffered pecuniary and emotional damages as a result of

    Defendant’s actions. Because Defendant failed or refused to flag its
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    collection item as disputed, Plaintiff’s credit score has been improperly

    depressed, making it harder for her to obtain employment, housing and

    credit for her day-to-day needs. Her credit report continues to be damaged

    due to the Defendant’s failure to properly report the associated collection

    item.

                               VIOLATION OF

            THE FAIR DEBT COLLECTION PRACTICES ACT

 18.Plaintiff reincorporates the preceding allegations by reference.

 19.At all relevant times, Defendant, in the ordinary course of its business,

    regularly engaged in the practice of collecting debts on behalf of other

    individuals or entities.

 20.Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

    issue in this case is a consumer debt.

 21.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

    ("FDCPA"), 15 U.S.C. §1692a(6). Defendant's foregoing acts in attempting

    to collect this alleged debt violated the FDCPA at 15 U.S.C. §1692e by

    reporting credit information which is known to be false, including failure to

    communicate that a disputed debt is disputed.
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   22.Plaintiff has suffered harm and damages at the hands of the Defendant as

      this harm was one that was specifically identified and intended to be

      protected against on behalf of a consumer, such as the Plaintiff, by Congress.

   23.Defendant’s failure to flag its collection items on Plaintiff’s consumer credit

      files is humiliating and embarrassing to the Plaintiff as it creates a false

      impression to users of her credit report that she has simply ignored this debt

      when, in fact, she disputes their validity. Again, the Defendant’s failure or

      refusal to flag it as disputed depresses the Plaintiff’s credit score.

   24.To date, and as a direct and proximate cause of the Defendant’s failure to

      honor its statutory obligations under the FDCPA, the Plaintiff has continued

      to suffer from a degraded credit report and credit score.

   25.Plaintiff has suffered economic, emotional, general, and statutory damages

      as a result of these violations of the FDCPA.

      WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against Defendant for actual damages, costs, interest, and attorneys’ fees.

                     DEMAND FOR JUDGMENT RELIEF

   Accordingly, Plaintiff requests that the Court grant her the following relief

against the Defendant:

   a. Actual damages;

   b. Statutory damages;
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  c. Statutory costs and attorneys’ fees.



                               JURY DEMAND

     Plaintiff hereby demands a trial by Jury.


DATED: August 9, 2021

                                            By: /s/ Daniel Brennan
                                            Daniel Brennan
                                            Bar Number 43395
                                            Credit Repair Lawyers of America
                                            22142 West Nine Mile Road
                                            Southfield, MI 48033
                                            Telephone: (248) 353-2882
                                            Equifax
                                            Facsimile: (248) 353-4840
                                            E-Mail: daniel@crlam.com
                                            Attorney for Plaintiff
